Case 2:05-cr-20272-SH|\/| Document 11 Filed 07/27/05 Page 1 of 2 Page|D 14

nasa ev g n.c.
IN THE UNITED sTATEs DISTRICT COURT
FoR THE WESTERN DISTRICT 01= TENNESSEE 05 JUL 27 AM 93 23
WESTERN DIvIsIoN .
THOWS M. GOUlD
GHK UiS, D€SJHCT COLBT
WJU OF l!\.z, StiirvMP!-HS
*
UNITED sTATEs oF AMERICA,
*
Piaimiff,
*
vs. No. 05-20272-Ma
*
ALBERT sMITH,
*
Defendant.
*
0RDER

The Court has before it the Government’s request for review of U.S. Magistrate Judge J ames
Vescovo’s ruling, issued on July 26, 2005, granting a bond to the defendant This Cou.It finds it
appropriate to stay the Magistrate Judge’s ruling on bond until the matter is heard. Accordingly, the
Magistrate Judge’s ruling on bond for defendant ALBERT SMITH is stayed until the completion
of the hearing on the appeal of this matter.

Ordered this _"~_J"\iay ofIULY, 2005.

y(///M,_._

THE HONORABLE SAMUEL H. MAYS, ]R.
UNITED STATES DISTRICT IUDGE

 

DATE: July 26, 2005.

This doctmsnt entered on the docket sh et ln o plian e
with aide 55 and/or 32er Fach on __ZM //

: .| l x x F
UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 2:05-CR-20272 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

